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                                UNITED STATES DISTRICT COURT
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                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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     WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA
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                   Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                 PLAINTIFF WAYMO LLC’S
          vs.                                      ADMINISTRATIVE MOTION TO FILE
                                                 UNDER SEAL ITS SUPPLEMENTAL
   UBER TECHNOLOGIES, INC.;                        BRIEF IN SUPPORT OF WAYMO’S
 OTTOMOTTO LLC; OTTO TRUCKING                    MOTION IN LIMINE 14
   LLC,
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             Defendants.
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                                                                       CASE NO. 3:17-cv-00939-WHA
                                   [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2041-2 Filed 10/23/17 Page 2 of 2




 1         Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 certain information in its Supplemental Brief in Support of Waymo’s Motion In Limine 14

 3 (“Waymo’s Administrative Motion”).

 4         Having considered Waymo’s Administrative Motion, and good cause to seal having been

 5 shown, the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the

 6 documents listed below:

 7                      Document                 Portions to Be Filed Under Seal
 8          Supplemental Brief in Support of    Highlighted in Blue
            Waymo’s Motion In Limine 14
 9          Exhibit 1 to the Supplemental       Highlighted in Blue
10          Brief
            Exhibit 2 to the Supplemental       Entire Document
11          Brief
            Exhibit 3 to the Supplemental       Entire Document
12          Brief
            Exhibit 4 to the Supplemental       Entire Document
13
            Brief
14

15         IT IS SO ORDERED.

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17 Dated: ______________, 2017

18                                        HON. WILLIAM ALSUP
                                          United States Magistrate Judge
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                                                  -2-                   CASE NO. 3:17-cv-00939-WHA
                                    [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
